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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 GODO KAISHA IP BRIDGE 1                    §
                                            §
 v.                                         §        Case No. 2:21-cv-00213-JRG
                                            §                  (Lead Case)
 TELEFONAKTIEBOLAGET LM                     §
 ERICSSON, and ERICSSON, INC.               §

 GODO KAISHA IP BRIDGE 1                    §
                                            §
 v.                                         §         Case No. 2:21-cv-00215-JRG
                                            §                 (Member Case)
 NOKIA CORPORATION, NOKIA                   §
 SOLUTIONS AND NETWORKS OY and              §
 NOKIA OF AMERICA COPORATION                §


                    MINUTES FOR PRETRIAL CONFERENCE
             HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                September 6, 2022


OPEN: 10:26 AM                                                  ADJOURN: 02:32 PM


ATTORNEYS FOR PLAINTIFF:                        See attached

ATTORNEYS FOR DEFENDANTS:                       See attached.

LAW CLERKS:                                     Ryan Davies
                                                Harris Huguenard
                                                Katie Albanese

COURT REPORTER:                                 Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                               Andrea Brunson, CP


   TIME                                    MINUTE ENTRY
 10:26 AM   Court opened.
 10:28 AM   Court called for announcements from counsel.
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   TIME                                         MINUTE ENTRY
 10:29 AM   Court provided instructions and housekeeping matters to the parties. Both cases are set
            for jury selection and trial on Monday, October 3, 2022. Each case will be tried
            separately. Trial will begin following empanelment of jury. Eight jurors will be
            selected. Peremptory strikes: Four per side. Counsel will be given 30 minutes per side
            for voir dire. The parties will be given 11 hours per side for the jury trial portion.
            Opening statements will be 30 minutes per side. Closing arguments will be 40 minutes
            per side. Court to be notified by 10:00 PM each night of disputes/objections not resolved
            through meet and confer efforts. Three (3) jointly prepared three-ring binders with
            disputed information are to be submitted to the Court by 7:00 AM the following day.
            The Court will be available in chambers by 7:30 AM every morning to take up any
            housekeeping matters or late-arriving disputes that might come up during trial.
            Deposition-clip objections and/or disputes are to be taken up by the Court the day before
            the day such deposition is to be used. Court encouraged the parties to utilize the meet
            and confer process during the course of the trial to resolve disputes. It is the Court’s
            intention to bring the jury in every morning at 8:30 AM. Lunch will be brought in daily
            for the jurors. Rule 50(a) motions will be heard by the Court after all the evidence is in
            and Plaintiff rests any rebuttal case. Court will hold an informal charge conference (off
            the record) after the close of evidence. Formal charge conference will follow thereafter
            and on the record. Court reminded counsel not to refer to individuals by their first
            names, and to advise their respective witnesses re: same. Court instructed counsel to
            refer to the Court’s Standing Order re: the sealing of the courtroom re: confidential or
            highly sensitive testimony. Court instructed the parties of no disruption during the
            portion of the trial re: the Court’s final jury instructions and counsel’s closing
            arguments. Parties to be prepared every morning of trial to read into the record those
            exhibits used prior day. Twelve juror notebooks to be delivered to chambers no later
            than 12:00 noon on Monday, September 26, 2022. Notebooks to contain: Complete
            copies of each patent-in-suit (single-sided or double-sided); claim construction chart
            (single-sided); page for each witness with a head and shoulder photograph, name and
            ruled lines for notetaking; three-hole punch notepad for further notes and a non-clicking
            pen. Each witness page should be tabbed for easy navigation. A reminder that expert
            witnesses are confined to the four corners of their report. Court CARRIED the decision
            re: which case will be first tried. Parties to meet and confer re: the use of an interpreter
            during the trial and to notify the Court re: same.
 10:54 AM   Court proceeded with hearing argument re: disputed dispositive motions:
 10:54 AM   [SEALED] Ericsson’s Motion for Partial Summary Judgment That Ericsson is Licensed
            to the ‘909, ‘724, ‘594, ‘239 and ‘546 Patents-In-Suit (Dkt. No. 84).
 10:55 AM   Mr. Mathews presented argument for Defendant Ericsson.
 10:55 AM   Courtroom sealed.
 10:56 AM   Continuation of argument by Mr. Mathews.
 11:17 AM   Responsive argument by Mr. Post for Plaintiff.
 11:35 AM   Rebuttal argument by Mr. Mathews.
 11:39 AM   Court CARRIED ruling re: Dkt. No. 84.
 11:40 AM   Court heard argument re: [SEALED] Nokia’s Motion for Partial Summary Judgment of
            Noninfringement of U.S. Patent No. 8,526,546 (Dkt. No. 148).
 11:41 AM   Courtroom unsealed.


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   TIME                                       MINUTE ENTRY
 11:41 AM   Mr. Haynes presented argument for Defendant Ericsson.
 11:52 AM   Responsive argument by Mr. Pepe for Plaintiff.
 11:57 AM   Rebuttal argument by Mr. Haynes.
 11:59 AM   Court DENIED Dkt. No. 148.
 12:01 PM   Recess for lunch.
 12:59 PM   Court reconvened.
 01:00 PM   Court heard argument re: Ericsson’s Motion for Partial Summary Judgment That IP
            Bridge’s Damages on the ‘000 and ’909 Patents Are Limited by 35 U.S.C. § 287 (Dkt.
            No. 151).
 01:01 PM   Mr. Chern presented argument for Defendant Ericsson.
 01:05 PM   Courtroom sealed.
 01:06 PM   Continuation of argument by Mr. Chern.
 01:09 PM   Courtroom unsealed.
 01:10 PM   Continuation of argument by Mr. Chern.
 01:20 PM   Responsive argument by Mr. Brenner for Plaintiff.
 01:29 PM   Courtroom sealed.
 01:30 PM   Continuation of argument by Mr. Brenner.
 01:32 PM   Courtroom unsealed.
 01:33 PM   Rebuttal argument by Mr. Chern.
 01:37 PM   Additional argument provided by Mr. Brenner.
 01:39 PM   Court DENIED Dkt. No. 151.
 01:40 PM   Court heard argument re: [SEALED] Defendants’ Motion to Exclude Dr. Perryman’s
            Opinions and Testimony Under Fed. R. Evid. 702 and Daubert (Dkt. No. 154).
 01:40 PM   Mr. Haynes presented argument for Ericsson and Nokia Defendants.
 02:05 PM   Courtroom sealed.
 02:05 PM   Continuation of argument by Mr. Haynes.
 02:14 PM   Courtroom unsealed.
 02:14 PM   Responsive argument by Mr. Brenner for Plaintiff.
 02:21 PM   Rebuttal argument by Mr. Haynes.
 02:23 PM   Courtroom sealed.
 02:23 PM   Court made rulings as set forth in the record re: Dkt. No. 154.
 02:27 PM   Courtroom unsealed.
 02:30 PM   Court to schedule a Day 2 of pretrial conference for a later date.
 02:32 PM   Court adjourned.




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